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Comm. on Oversight & Gov’t Reform, U.S. House of Reps. v. Holder, No. 12-1332 (ABJ)

              DEFENDANT’S MEMORANDUM IN OPPOSITION TO
                    PLAINTIFF’S MOTION TO COMPEL

                                      Ex. B
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                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch

                                                     20 Massachusetts Ave., N.W., Room 7336
                                                     Washington, DC 20001
________________________________________________________________________
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                                                     December 24, 2014

Via Electronic Transmission

Kerry Kircher
General Counsel
Office of the General Counsel
U.S. House of Representatives
219 Cannon House Office Building
Washington, DC 20515


       Re:       Committee on Oversight and Government Reform, U.S. House of Representatives
                 v. Holder, Civ. No. 12-1332 (D.D.C.).

Dear Kerry:

       I write to follow up on some topics raised in the Committee’s November 25, 2014 Notice
of Disputed Claims and Other Issues (“Pl.’s Notice”) (ECF No. 98), including topics noted in
your December 3, 2014 letter and discussed during our meeting on December 8, 2014.

        In light of the Committee’s inquiry about material the Department has withheld as
“Unrelated,” the Department has re-reviewed these withholdings. The Department is
reprocessing a small number of documents that, upon re-review and in an effort to remove
disputes from this case, will be provided to the Committee. The Department can further confirm
that the remainder of the “Unrelated” materials are just that.

        We understand that the Committee agrees in principle that the Department need not
produce unrelated material in this case. See, e.g., Pl.’s Notice at 8. The Committee should agree
to remove these withholdings from dispute based on the Department’s representations that the
material being withheld is, in fact, unrelated. The Department also would be willing to provide
the Court with unredacted versions of the unrelated materials, so that the Court can confirm that
they are unrelated. However, the Committee’s proposal that it conduct an in camera review of
unredacted versions of the unrelated material would not be appropriate.

        The parties also have discussed a potential resolution of law enforcement withholdings,
State Department withholdings, privacy withholdings, and attorney-client and attorney work
product withholdings. Our understanding is that, on the basis of these discussions, and your
further review of the detailed list, you would discuss these matters further and get back to us with
your client’s position on these issues. We have not yet heard from you on these topics but
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remain interested in learning your client’s position and in reaching a resolution that does not
require resolution by the Court for each document.

        Finally, the Committee has asked about the relatively small number of documents that
contain redactions without attendant descriptions on the detailed list. See, e.g., id. We explained
during our December 8 meeting that this issue is largely the consequence of a technical issue
related to the electronic searching and redaction methods the Department had to undertake out of
necessity on account of the time constraints it was facing. Cf. Letter from John Tyler to Kerry
Kircher 1-2 (Nov. 4, 2014) (ECF No. 101-1). We have provided the Committee with a general
description of the law enforcement concerns motivating the vast majority of these withholdings,
both by letter, see id., and during face-to-face discussions. Given the explanations we already
have provided, we asked the Committee during our December 8 meeting to identify for the
Department the particular withholdings about which the Committee would like more
information, but the Committee stated that it was unlikely to do so. The Department can provide
additional information about this group of redactions for the Committee if the Committee agrees
to use such additional information as part of a process to attempt to remove particular
withholdings (or categories of withholdings) from dispute. So far, the Committee has provided
no such indication.

       We look forward to hearing from you and continue to believe that further discussion
could potentially remove some issues from further litigation. If you are amenable to another
meeting, we would be happy to provide a conference room at the Department for such purpose.

                                                      Sincerely,

                                                      /s/ Brad Humphreys

                                                      Brad Humphreys
